
PER CURIAM.
Andre Phillips appeals the final judgment of foreclosure entered by the trial court in favor of U.S. Bank National Association. We affirm the final judgment in all respects except for the award of attorney's fees which was not supported by competent, substantial evidence. See Peuguero v. Bank of Am., N.A., 169 So.3d 1198, 1203 (Fla. 4th DCA 2015) ; Diwakar v. Montecito Palm Beach Condo. Ass'n, 143 So.3d 958, 961 (Fla. 4th DCA 2014). Accordingly, we reverse the award of attorney's fees without remand. See Michel v. Bank of N.Y. Mellon, 191 So.3d 981, 984 (Fla. 2d DCA 2016).
AFFIRMED in part and REVERSED in part.
BERGER, GROSSHANS, and SASSO, JJ., concur.
